Case 3:19-cv-01226-L-AHG         Document 162 Filed 04/15/25                PageID.18843         Page 1
                                           of 2



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  8
                                UNITED STATES DISTRICT COURT
  9
                            SOUTHERN DISTRICT OF CALIFORNIA
 10
      JOSE CHAVEZ, et al.,                )           Case No.: 3:19-cv-01226-L-AHG
 11                                       )
                    Plaintiffs,                       Hon. M. James Lorenz and Magistrate Judge
 12                                       )           Allison H. Goddard
      v.                                  )
 13                                       )           Amended Notice of Appeal From a
      ROB BONTA, in his official                      Judgment or Order of United States District
 14   capacity as Attorney General of the )           Court
      State of California, et al.,        )
 15                                       )
 16   Defendants.                         )           Third Amended Complaint Filed: March 22,
                                          )           2023
 17                                       )
 18                                       )
                                          )
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            Amended Notice of Appeal From a Judgment or Order of United States District Court (3:19-CV-01226-L-AHG)
Case 3:19-cv-01226-L-AHG        Document 162 Filed 04/15/25                PageID.18844          Page 2
                                          of 2



  1   TO THE COURT, THE PARTIES, and COUNSEL OF RECORD:
  2   PLEASE TAKE NOTICE Plaintiffs/Appellants PWGG L.P. (D.B.A. Poway
  3   Weapons And Gear and PWG Range); North County Shooting Center, Inc.; Firearms
  4   Policy Coalition, Inc.; The California Gun Rights Foundation; and Second
  5   Amendment Foundation hereby submit this Amended Notice of Appeal From a
  6   Judgment or Order of the United States District Court to correct inadvertent inclusion
  7   of certain plaintiffs as appellants and to correct clerical errors within the original
  8   Notice of Appeal filed on April 14, 2025.
  9         The corrected “Form 1 Notice of Appeal From a Judgment or Order of the
 10   United States District Court” and “Form 6 Representation Statement” are attached
 11   hereto as Attachment A.
 12
 13   April 15, 2025                                Respectfully submitted,
 14
                                                              DILLON LAW GROUP APC
 15
 16
 17                                                 By:       /s/ John W. Dillon
 18                                                           John W. Dillon
                                                              Attorneys for Plaintiffs
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           Amended Notice of Appeal From a Judgment or Order of United States District Court (3:19-CV-01226-L-AHG)
